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                                   UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF LOUISIANA

                                         BATON ROUGE DIVISION


JOSEPH E. LONDON                                                      DOCKET NO.:

VERSUS                                                                JUDGE ______________________

SENTRY SELECT INSURANCE COMPANY,
STINGRAY LOGISTICS, INC., DALE R. WHIPKEY                             MAGISTRATE _________________
and GOAUTO INSURANCE COMPANY

 ****************************************************************************************************************
                                     DEFENDANTS’ JOINT NOTICE OF
                               AND CONSENT FOR REMOVAL OF ACTION
****************************************************************************************************************

        TO:     THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF LOUISIANA:

                Sentry Select Insurance Company (Sentry), StingRay Logistics, Inc.

        (StingRay), Dale R. Whipkey (Whipkey), and GoAuto Insurance Company (GoAuto),

        defendants in the above captioned case, appearing herein through their respective

        undersigned counsel, with full reservation of all defenses, objections, and rights,

        respectfully represent the following:

                                                        1.

                On November 9, 2017, a Petition for Damages was filed by Joseph E. London,

        in the 18th Judicial District Court for the Parish of Iberville, bearing Docket No. 77419

        C. A copy of the Petition for Damages filed with the 18 th Judicial District Court, along

        with the entire state court suit record, is attached to the Notice of Filing and

        Certificate of Removing Defendants as Exhibit A.
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                              FEDERAL JURISDICTION

                       Removal Pursuant to 28 U.S.C. §1332

                                           2.

      This civil action is a matter over which this Court has original jurisdiction by

virtue of Diversity of Citizenship (28 USC §1332) and is one which may be removed

to this Court under the provisions of 28 USC §1441 et seq., in that it is a civil action

wherein diversity of citizenship exists between the plaintiffs and all properly joined

defendants, with the requisite amount in controversy being present for the claims of

Joseph London.


           Complete Diversity Exists as to All Properly Joined Parties

                                           3.

      According to the Petition, the plaintiff, Joseph London, is domiciled in East

Baton Rouge Parish and is a citizen of the State of Louisiana.

                                           4.

      Defendant Sentry Select Insurance Company is a corporate entity of the State

of Wisconsin, where it is both incorporated and maintains its principal place of

business. Sentry Select Insurance Company was served with the state court Petition

through the Louisiana Secretary of State’s office on November 20, 2017.

                                           5.

      Defendant StingRay Logistics, Inc. is a corporate entity of the state of Florida

where it maintains its principal place of business. Service of the state court suit was

made on its agent for service in Florida through the Louisiana Long-arm Statute, La.

R. S. 13:3201, 13:3204 on or around December 21, 2017.

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                                            6.

       Defendant Dale R. Whipkey is a citizen of the state of Florida. Service of the

state court suit was made through the Louisiana Long-arm Statute, La. R. S.

13:3201, 13:3204 on or around December 21, 2017.


      GoAuto is a Non-Diverse Defendant that has been Improperly Joined

                                            7.

       Defendant GoAuto Insurance Company is a corporate entity of the State of

Louisiana, where it is both incorporated and maintains its principal place of business.

GoAuto was served with the state court Petition through its agent for service on

November 17, 2017. However, for the reasons elaborated upon more fully below,

GoAuto has been “improperly joined” to this action, such that its citizenship can be

disregarded for purposes of determining diversity jurisdiction.

                                            8.

       The United States Fifth Circuit has “recognized two ways to establish improper

joinder: ‘(1) actual fraud in the pleading of jurisdictional facts, or (2) inability of the

plaintiff to establish a cause of action against the non-diverse party in state court.’”

Smallwood v. Central Railroad Co., 385 F.3d 568, 573 (5th Cir. 2004) (quoting Travis

v. Irby, 326 F.3d 644, 646-47 (5th Cir. 2003). As to the second method, the test “is

whether the defendant has demonstrated that there is no possibility of recovery by

the plaintiff against an in-state defendant, which stated differently means that there is

no reasonable basis for the district court to predict that the plaintiff might be able to

recover against an in-state defendant.” Smallwood, supra, at p.573. See also, the



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very recently decided matter of Williams v. Biomet Orthopedics, LLC, CV 16-795-

BAJ-EWD, 2017 WL 3713529, at 3 (M.D. La. Mar. 31, 2017), report and

recommendation adopted, CV 16-00795-BAJ-EWD, 2017 WL 4176480 (M.D. La.

Sept. 21, 2017), in which Judge Wilder-Doomes adopted and applied the Smallwood

standard. A copy of the Williams case is attached for the Court’s easy reference as

Exhibit B.

                                             9.

       The   plaintiff’s   Petition   for   Damages    alleges   that     GoAuto   provided

uninsured/under insured motorist (UM/UIM) to the plaintiff through a certain policy of

insurance issued to a Mr. Tyler Garrett.       See Petition, arts. 8-9.     However, in its

Answer to the plaintiff’s Petition for Damages, GoAuto has clearly shown that there is

no reasonable basis for the district court to “predict that the plaintiff might be able to

recover” from GoAuto. See Smallwood, supra. GoAuto’s Answer, filed March 2,

2018, which is included within the complete suit record attached as Exhibit A.

       More specifically, prior to the subject accident, GoAuto issued a liability

insurance policy (Policy No. 384122) to Mr. Tyler Garrett which listed an unrelated

2015 Chevrolet Camaro as the covered vehicle (Mr. London was operating a 1998

Chevrolet Monte Carlo at the time of the subject accident). However, at the time that

the subject accident occurred on November 30, 2016, that policy had been canceled

for nonpayment of premiums. Even more fundamentally, even when the policy was

in effect it provided no UM coverage because of a valid UM rejection executed in

conformity with LA RS 22:1295. Additionally, Mr. Joseph London was an excluded

driver under the GoAuto policy. Please find attached an affidavit (Exhibit F) from


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GoAuto representative, Ms. Kim McCloud, which supports the foregoing. For all of

these reasons, “there is no reasonable basis for the district court to predict that the

plaintiff might be able to recover” against GoAuto.

                                           10.

       The GoAuto Answer further discloses that Mr. Joseph London himself

executed a UM rejection form for a separate policy of insurance, bearing policy

number 268158 (further identified as the “Valencia London policy”). A certified copy

of the UM rejection form signed by Mr. Joseph London regarding the Valencia

London policy is attached hereto as “Exhibit C.” Please see attached the

aforementioned affidavit (Exhibit F) from GoAuto representative, Ms. Kim McCloud,

which also supports the foregoing.

                                           11.

       The United States Fifth Circuit Court of Appeals has long recognized that a

non-diverse defendant should be dismissed on account of improper joinder when, as

here, it is demonstrated that plaintiff has failed to establish a valid cause of action

against the non-diverse party. Crockett v. R.J. Reynolds Tobacco Co., 436 F.3d 529,

532 (5th Cir.2006) (quoting Travis v. Irby, 326 F.3d 644, 646- 47 (5th Cir .2003). It is

clear that there is “no possibility of recovery” by the plaintiff against GoAuto. As such,

GoAuto is entitled to dismissal from this suit, and its presence in the suit at this time

presents no impediment to proper removal of this action. Complete diversity exists

between all real parties in interest.




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       The Requisite Amount in Controversy Has Now Been Established

                                          12.

       On its face, the plaintiff’s Petition does not affirmatively reveal whether or not

the plaintiff’s damages are in excess of the required jurisdictional amount of

$75,000.00, exclusive of interest and costs.         The petition made only general

allegations to the effect that Mr. London “has sustained damages including, but not

limited to, pain and suffering, mental anguish and suffering, loss of enjoyment of life,

medical expenses, and any and all other damages that may be proven at the trial of

this matter.” See Petition, art. 10. The jurisprudence of this Honorable Court makes

it clear that these types of general allegations, without any substantive

documentation of the actual damages, are insufficient to premise removal of an

action. Henderson v. J.C. Penny Corp., Inc., CIV.A. 12-691-SDD, 2013 WL 4039407,

at 3 (M.D. La. Aug. 7, 2013) (decided by Judge Bourgeois); Daniel v. Lowe's Home

Centers, L.L.C., CV 16-374-JWD-RLB, 2016 WL 6562073, at 3–4 (M.D. La. Oct. 11,

2016), report and recommendation adopted, CV 16-374-JWD-RLB, 2016 WL

6561565 (M.D. La. Nov. 3, 2016) (also decided by Judge Bourgeois).

                                          13.

       Furthermore, Mr. London did not include suit allegations to establish “the lack

of jurisdiction of federal courts due to the insufficiency of damages” as is specifically

allowed by La. Code Civil Procedure article 893 A(1). As such, the suit served upon

the defendants was not initially removable. Please see: Williams v. Brand Energy &

Infrastructure Services, Inc., CV 16-00120-SDD-EWD, 2016 WL 3977259, at 3 (M.D.




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La. June 9, 2016), report and recommendation adopted, CV 16-120-SDD-EWD, 2016

WL 3951392 (M.D. La. July 21, 2016) (decided by Judge Wilder-Doomes).

                                          14.

      In order to determine the potential damages exposure in this case, the

defendants Whipkey, Stingray, and Sentry propounded written discovery, including

Interrogatories, Requests for Production of Documents, and a Request for Admission

to the plaintiff on December 12, 2017.

                                          15.

      On February 22, 2018, plaintiff’s counsel faxed to defense counsel the

plaintiff’s Answers to Interrogatories, Response to Request for Production, and

Response to Request for Admission. A copy of the discovery responses faxed on

that date are attached in globo as “Exhibit D.” No actual medical information was

sent with the faxed copies of the discovery responses. Instead, medical records

were placed onto a disc and mailed to defense counsel. The disc containing the

medical information was received by counsel for Whipkey, Stingray, and Sentry on

February 27, 2018.

                                          16.

      Based upon the medical records first received on February 27, 2018, [and also

upon additional medical records which have subsequently been obtained by use of

medical authorizations provided with the plaintiff’s discovery responses], the following

summary of the medical evidence on Mr. London’s alleged injuries can now be

provided:




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      --Mr. London complains of pain in his right leg, neck, back, left shoulder,

      right and left wrist, right hip, right ankle and right knee along with

      experiencing headaches.

      --The plaintiff underwent cervical and lumbar MRIs on January 24, 2017.

      The cervical MRI revealed a disc herniation at C4, a disc bulge at C5

      and C6 lateralizing more to the right side, and facet arthropathy at C4, C5

      and C6. The plaintiff’s lumbar MRI scan shows facet arthropathy at

      L3, L4 and L5.

      --The plaintiff underwent a lumbar dorsal medial branch block at

      L3-4, L4-5, L5-S1 on 4/10/17 as well as a lumbar dorsal medial branch

      radiofrequency ablation at L3-4, L4-5, L5-S1 on 5/8/17.

      --It is the opinion of the plaintiff’s treating physician, Dr. Anthony Ioppolo,

      that more probably than not, the subject accident is the cause of the

      plaintiff’s cervical pain and lumbar pain both with radiculopathy.

      The specific medical records that establish the synopsis set forth above are

attached hereto in globo as “Exhibit E”

                                           17.

      The aforementioned medical treatment clearly evidences that general and

special damages will exceed $75,000.00. Please see the medical records outlined

above as Exhibit E.

                                           18.

      Further, in responding to Requests for Admissions propounded by Sentry,

StingRay, and Mr. Dale Whipkey, the plaintiff neither admitted nor denied that his


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damages would not exceed the required jurisdictional amount of $75,000.00.              As

such, the plaintiff has not availed himself of the procedural means afforded him to

have made this case non-removable.         Please see: Williams v. Brand Energy &

Infrastructure Services, Inc., CV 16-00120-SDD-EWD, 2016 WL 3977259, at 3 (M.D.

La. June 9, 2016), report and recommendation adopted, CV 16-120-SDD-EWD, 2016

WL 3951392 (M.D. La. July 21, 2016) (decided by Judge Wilder-Doomes).

                                           19.

       It is well established that a plaintiff's action may become removable during its

first year if defendants receive “a copy of an amended pleading, motion, order or

other paper from which it may first be ascertained” that federal jurisdiction exists.

Henderson v. J.C. Penny Corp., Inc., CIV.A. 12-691-SDD, 2013 WL 4039407, at *3

(M.D. La. Aug. 7, 2013). In this case, no “other paper” indicating the nature of the

injuries and value of the case was received until the defense first received the disc

containing the medical records on February 28, 2018.           At that point, the matter

became properly removable, such that this removal is being timely filed under the

provisions of 28 USC 1446 B(3).


                                         Venue

                                           20.

       The plaintiff filed this lawsuit in the 18th Judicial District for Iberville Parish.

Thus, venue in this District is proper under 28 U.S.C. §1441(a), as it is the “District

Court of the United States for the district and division embracing the place” where the

original lawsuit is pending.



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                                         21.

      Pursuant to 28 U.S.C. 1446(b)(2)(A), as shown by the signatures of their

respective attorneys below, all defendants have joined in and/or consented to

Removal of this action.

      WHEREFORE, defendants Sentry Select Insurance Company, StingRay

Logistics, Inc., Dale R. Whipkey, and GoAuto Insurance Company, do hereby remove

the above captioned case to the United States District Court for the Middle District of

Louisiana.



                                         Respectfully submitted:

                                         RABALAIS & HEBERT


                                         s/ Steven B. Rabalais
                                         ___________________________________
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                                         ATTORNEYS FOR DEFENDANTS FOR
                                         SENTRY         SELECT       INSURANCE
                                         COMPANY, STINGRAY LOGISTICS, INC.,
                                         AND DALE WHIPKEY



                                         s/ Chase Tettleton
                                         _____________________________
                                         CHASE TETTLETON (#32721)
                                         Babcock Partners, LLC
                                         10101 Siegen Lane, Suite 3C
                                         Baton Rouge, LA. 70810
                                         ATTORNEY FOR GOAUTO


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                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the above and foregoing has this day been

forwarded as follows:

                  ---    U.S. Mail (First Class)
                  ---    Hand Delivery
                  ---    Facsimile
                  ---    Overnight Delivery
                   X     E-Mail – All Known Counsel

      Lafayette, Louisiana on this 21th day of March, 2018.

                                s/ Steven B. Rabalais
                        _________________________________
                               STEVEN B. RABALAIS
                                BLAKE COUVILLION




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